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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

MWK RECRUITING, INC.                             §
                                                 §
VS.                                              §            No. 1:18-cv-0444 RP
                                                 §
EVAN P. JOWERS, et al.                           §

                                             ORDER

       On April 24, 2020, Evan Jowers filed a Motion for Protective Order and Motion to Quash

Third Party Subpoenas (Dkt. No. 165). On April 27, 2020, Judge Pitman referred the motion to the

undersigned for disposition.

       Though some of the issues raised in the motion are moot by virtue of the Court’s order issued

yesterday, that is not true for all of them. The Court is frustrated by the manner in which discovery

is proceeding in this case, and this new motion is a case in point. Before additional Court and

attorney time is occupied dealing with issues that should not require its attention, the Court

ORDERS the following:

•      MWK shall not file a response to the Motion for Protective Order and Motion to
       Quash Third Party Subpoenas (Dkt. No. 165); and

•      The parties shall appear for a telephone discovery hearing on Friday, May 1, 2020,
       at 10:30 a.m. Court staff will contact counsel via email with call-in instructions.

       SIGNED this 28th day of April, 2020.



                                            _____________________________________
                                            ANDREW W. AUSTIN
                                            UNITED STATES MAGISTRATE JUDGE
